     Case 2:21-cr-00127-MCS     Document 231-1 Filed 12/30/24   Page 1 of 2 Page ID
                                         #:3594


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8
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9    UNITED STATES OF AMERICA

10                              UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                    No. 2:21-CR-127-MCS

13               Plaintiff,                       DECLARATION OF VALERIE L.
                                                  MAKAREWICZ
14                     v.

15   DOUGLAS J. CHRISMAS,

16               Defendant.

17
                            DECLARATION OF VALERIE L. MAKAREWICZ
18
          I, Valerie L. Makarewicz, declare as follows:
19
          1.      I am an Assistant United States Attorney assigned to this
20
     case.     I have knowledge of the facts set forth herein and could and
21
     would testify to those facts fully and truthfully if called and sworn
22
     as a witness.
23
          2.      Attached herein and marked are the following documents:
24
                  a.   Exhibit 1: Case No. 2:22-cv-1265-PA, In re Art &
25
     Architecture Books, Dkt. No. 2 (“Bankruptcy R&R”).
26
                  b.   Exhibit 2: Expert Report by Jennifer E. Zeigler, CPA.
27

28

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     Case 2:21-cr-00127-MCS    Document 231-1 Filed 12/30/24   Page 2 of 2 Page ID
                                        #:3595


1                c.   Exhibit 3: Letter written by David Shemano dated April

2    25, 2016.

3                d.   Exhibit 4: LA Times Article, Chrismas Has 5 Years To

4    Repay: Art Dealer Pleads No Contest, dated August 7, 1986.

5                e.   Exhibit 5: Stipulations for Allowance and Treatment of

6    Claims in In re Art and Architecture Books of the 21st Century, Case

7    No. 2:13-bk-14135-RK, United States Bankruptcy Court, Central

8    District of California, for the following:

9                     i.      David Amico, p. 1.

10                    ii.     Amy Oppenheim, p. 21.

11                    iii. Melissa Kretschmer, p. 38.

12                    iv.     Carl Andre, p. 44.

13                    v.      Mireille Porte Orlan, p. 50.

14                    vi.     Alexander Yulish, p. 59.

15                    vii. Peter Alexander, p. 71.

16                    viii.        Berner Venet, p. 75.

17                    ix.     Mary Corse, p. 80.

18                    x.      Deborah Hede, p. 94.

19                    xi.     Judy Fox, p. 101.

20               f.   Appendix 1: summary table of artwork proceeds

21   embezzled from Ace Gallery from Exhibit A.

22        I declare under penalty of perjury under the laws of the United

23   States of America that the foregoing is true and correct and that

24   this declaration is executed at Los Angeles, California, on December

25   30, 2024.

26

27

28
                                                Valerie L. Makarewicz
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